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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT Co RT
                                                                  for the
                                                                                                                  FILED IN
                                                                                                                        INTHE
                                                                                                                           THE
                                                           District of Hawaii                            UNITED STATES DISTRICT COURT
                                                                                                              DISTRICT OF HAWAII

                  United States of America                          )                                       Dec 06, 2021,
                                                                                                                    2021 , 4:47 pm
                                                                                                         Michelle Rynne, Clerk
                                                                                                         Michelle Rynne, Clerk of
                                                                                                                               of Court
                                                                                                                                  Court
                               V.                                   )
                  Brandon Charles Saffeels                          )        Mag. No.
                                                                    )                   21-141 KJM
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of m knowledge and belief.
On or about the date(s) of          December 3 to December 5, 2021          in the county of                 Maui                in the
                       District of             Hawaii           , the defendant(s) violated:
            Code Section                                                        Offense Descrip ion
18 U.S.C. § 2422(b)                             Attempted Enticement of a Minor




         This criminal complaint is based on these facts:
See attached affidavit.




         rlf Continued on the attached sheet.


                                                                                               -rmplainant 's signature

                                                                                     Matthew Uaramee, HSI Special Agent
Sworn to under oath before me telephonically,                                                  j;rillled name and title
and attestation acknowledged pursuant to
Federal Rule of Criminal Procedure 4. 1(b)(2)

Date:         December 6, 2021 at 4:46 p.m.
                                                                                                            Kcnncrh J. Mansfield
City and state:                         Honolulu, Hawaii                                                    United Statc.i; Magistrarc Judge
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                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

 2         I, the undersigned complainant, being duly sworn, sta e the following is tme and

 3 correct to the best of my knowledge and belief.
 4
                                       INTRODUCTION
 5
 6         1.     This affidavit is submitted for the purpose of e tablishing probable cause

 7 that BRANDON CHARLES SAFFEELS, the defendant, on              J,   about December 4, 2021,
 8
     violated 18 U .S. Code § 2422(b), and attempted to do so, witn the District of Hawaii,
 9                                                                j
10 when he knowingly enticed a minor to engage in sexual activity in or affecting interstate

11 and foreign commerce by any means, including by computJ
12                                                                I
           2.    I am a Special Agent with Homeland Security lrivestigations (HSI) and am
13                                                           I
14 presently assigned to the Honolulu Field Office, Cyber Group. I have been employed

15 as a Special Agent with HSI since May 2020. I have i lvestigated criminal cases
16
     including internet crimes against children, drug smuggling, human trafficking, fraud,
17
18 and other violations. As part of these investigations, I have participated in the service

19 of federal search warrants and criminal arrests. I have received training in criminal
20
     investigations involving enticement of minors, including training provided by the
21
22 Internet Crimes Against Children (ICAC) taskforce for the i vestigation of individuals

23 attempting to entice minors. I have participated in training courses for the investigation

24                                                                I
     and enforcement of federal enticement laws in which cell whones and computers are
25
26 used as the means to access a minor. I have been involved i investigations involving

27 online solicitation/enticement of minors.
28
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 1
           .,,., .   I am familiar with the facts set forth in this affidavit based upon my

 2 personal knowledge and information provided to me by othe law enforcement personal
 3                                                          I
   and/or witnesses. This affidavit is intended to show mer~ly that there is sufficient
 4
 5 probable cause for the criminal complaint charging BRANDON CHARLES

 6 SAFFEELS with violations of federal law. Accordingly, this affidavit does not set forth
 7
     all the facts known to me or to law enforcement regarding his matter. Summaries of

 :   evidence and statements from conversations do not nee lssarily include all topics

10 covered in the matter observed or known to the government.
1I
                                          PROBABLE CAUSE
12
13         4.        On December 3, 2021, Homeland Security Inv stigations (HSI) Honolulu

14 field office, was conducting an undercover operation with thjl Maui Police Department,
15
   with assistance from the Federal Bureau of Investigation (~Bl) and the United States
16                                                              I
17 Secret Service (USSS). The goal of this operation was to ide tify, locate, and apprehend

18 individuals located on the Isle of Maui who were attempting to solicitate/entice minors
19
   for sexual activity by means of electronic devices connected to the internet.
20
21         5.        On December 3, 2021, at approximately 10:30 [   , an undercover chatter

22 was contacted by a suspect utilizing the phone number (801'( 283-9024. HSI analysts
23
   working on the operation were able to identify BRANDON <CHARLES SAFFEELS as
24                                                            I
25 the registered owner of the phone number. Over the course of thirty-eight hours the

26 suspect and the undercover chatter continued to message ealh other. These exchanges

21                                                               I
     included the following messages, and not all messages are i duded:
28
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 1         Chatter: Upfront tho - Im waay younger than wht my profile says. Just put a

 2    rando number
 3
 4
 5         Suspect: How old are u
 6

 7         Suspect: I know that
 8
           Suspect: Upfront. I want a sexy pie lol
 9

10
           Chatter: cool. Plz don't judge but im 13. Just hate tupid kids my age.
11
12         Suspect: Send me something.
13
14         Chatter: huh?
15
           Suspect: Sexy atleast if your comfortable
16
17         Chatter: Joi. U okay wit my age? Not lookin to w7te time
18         Suspect: Age is just a number. Will see ifu send a exy pie.
19
20
21         Suspect: I have something for u
22
           Chatter: Whaaaat is it? (laughing/crying emoji)
23
           Suspect: Money lmao
24
25         Suspect: Can I see u for like 30 min
26
27
           Chatter: How much? (money bag emoji, laughing/orying emoji)
28
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 1              Suspect: How much u want lol

 2              Suspect: or r u wasting time again
 3
                Chatter: ( confused person emoji, female symbol e oji) What I gotta do?
 4

 5              Suspect: Sex

 6              Suspect: Duh
 7
                Suspect: Or what ever
 8
 9              Suspect: U not a Virgin right

10              Chatter: Lol. Not up the butt
11
                Chatter: No
12
13              Suspect: I don't want your butt lol

14              Chatter: I gotta try n get away from my cusin guys. I don't want get n trble
15
                Suspect: How u gonna do that
16
17              Suspect: Take a walk

18              Suspect: 20 min all we need
19
20
21         6.      In later conversation, the suspect sent a full bod1 nude photograph

22 partially showing his genitals to the chatter. Maui Police Debartment Officers

23                                                                 I
     familiar with BRANDON CHARLES SAFFEELS viewed tlie photograph and verified
24                                                                 I •
25 that the subject of the photograph was in fact BRANDON CHARLES SAFFEELS. In

26 another later conversation, the subject stated that he will sen I money to the chatter in
27
28
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  1 exchange for a nude photograph of the chatter. Later that night, the subject messaged

 :   the chatter expressing his desire to make a pornographic vidt o with the chatter.

           7.     On December 4, 2021, at approximately 10:30RM, the suspect contacted
 4
 5 the chatter and requested that they meet for sex. The chatte requested that the suspect

 6 meet them at the Piilani Village Shopping Center Safeway l , cated at 277 Pi'ikea Ave,
 7
     in Kihei, Hawaii. On December 5, 2021, at approximately T:0SAM the suspect, later
 8
 9 identified as BRANDON CHARLES SAFFEELS, entered l e Piilani Village

10 shopping Center Safeway. At approximately 00: 11 AM, BRANDON CHARLES
11                                                                I
     SAFFEELS was apprehended without incident by Maui Police Officers as he was
12
13 leaving the Piilani Village Shopping Center Safeway. Once apprehended,

14 BRANDON CHARLES SAFFEELS was transported to the                    aui Police Depa1tment
15                                                                I
     Kihei Station. BRANDON CHARLES SAFFEELS gave transporting officers his
16                                                              I
17 consent to search and transport his vehicle and to search his ell phone that he had on

18 his person.
19
       8.  At approximately 00:45AM at the Maui Police epartment Kihei Station,
20                                                    I
21 BRANDON CHARLES SAFFEELS was interviewed by Maui Police Detective Lance

:: Yorita, FBI Special Agent Kyle Carpenter, and FBI Special t gent Adam Hartman.

     BRANDON CHARLES SAFFEELS was advised ofrights • r d voluntarily waived his
24
25 fifth amendment right in order to speak with the interviewers. During the interview,

26 BRANDON CHARLES SAFFEELS admitted to sending thj undercover chatter the
27
   messages from the phone number (808) 283-9024, admitted hat he believed that he
28
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 1 was speaking with a thirteen-year-old female, admitted that e requested the chatter

 2 send nude photographs, admitted to sending a nude photogrlph of himself to what he
 3
     believed was a thirteen-year-old female, and admitted that le intended to have sexual
 4
 5 contact with a thirteen year old female when he entered the ' iilani Village Shopping
 6 Center Safeway.
 7
                                       CONCLUSION
 8
 9         9.    Based on the foregoing, I believe that there is p obable cause to arrest

10 BRANDON CHARLES SAFFEELS for the violation of fed Iral law set forth above.
11
12
13
14
15                                                                 estigations

16
17         Sworn to under oath before me telephonically, and att station acknowledged
     pursuant to Federal Rule of Criminal Procedure 4.l(b)(2) on December 6, 2021: at 4:46 p.m.
18
19
20
21
22
23
24
25
26
27
28
